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                              EXHIBIT I
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                      Craig H. Lichtblau, MD - 4/8/2019



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

                             CASE NO.:      8:18-CV-00127

         RYSTA LEONA SUSMAN, both
         individually and as Legal
         Guardian of SHANE ALLEN
         LOVELAND, et al.,

                              Plaintiff,
         vs.
         THE GOODYEAR TIRE & RUBBER
         COMPANY,

                        Defendant.
         ________________________________/


                                    DEPOSITION OF

                             CRAIG H. LICHTBLAU, M.D.


                              Monday, April 8, 2019
                              4:49 p.m. - 6:41 p.m.


                    Offices of Craig H. Lichtblau, M.D.
                          550 Northlake Boulevard
                      North Palm Beach, Florida 33408

                       Stenographically Reported By:
                        Shirley D. King, CRR, FPR, RPR
                         Certified Realtime Reporter




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                                                                             20
   1                  So the way I put this together, in
   2    answering your question, yes, some of this, it will
   3    be consistent in other reports with neurologic
   4    catastrophic patients, but protocols change all the
   5    time, medications change all the time.                 And
   6    depending upon the patient's clinical status, that
   7    they may not have all sections of the specific
   8    report in it, in each report.
   9           Q.     Okay.     Thank you.
  10                  MR. HEDGER:       Can I have this marked as
  11           Exhibit G.
  12                  THE WITNESS:       Do you want to go off the
  13           record?
  14                  MR. HEDGER:       Sure.
  15                  (Marked for identification is Defense
  16           Exhibit G.)
  17       BY MR. HEDGER:
  18           Q.     Sir, I've handed you what's been marked
  19    Defendant's Exhibit G.           Do you recognize that
  20    document?
  21           A.     Yes.    That's my summary report.
  22           Q.     And you testified earlier that your
  23    summary report is what exactly?
  24           A.     It just adds life expectancy.              You have to
  25    use peer-reviewed published literature.                  And you'll



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                                                                             21
   1    notice I went ahead and reduced his life expectancy
   2    by four years, which you kind of have to because
   3    this is a major catastrophic injury.                However, he is
   4    walking and he's not fit by a G-tube, so you'd only
   5    reduce it by four years.            And this has basically
   6    been peer-reviewed published and accepted.
   7           Q.     All right.       We'll get there.        I'm going to
   8    start at the beginning of the report.
   9           A.     Okay.
  10           Q.     In the second paragraph, you say the
  11    patient's mother stated her son was in a normal
  12    state of health until May 1st, 2015.                Do you see
  13    that in there?
  14           A.     Yes.
  15           Q.     Was this the sum total of your review of
  16    information pre-accident?
  17           A.     I think so.       Let's see.      The accident took
  18    place on 5/1/15 and my first record is on 5/1/15.                     I
  19    think that's correct.
  20                  I don't really have any knowledge of any
  21    preexisting bad problems that he had or medical
  22    problem.      Let's see if it's in the past medical
  23    history.
  24                  He had a fracture of his right foot.
  25    That's all I know.          I don't think he had any



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                                                                              43
   1    He'll hit somebody.          He'll scream profanity at
   2    somebody's girlfriend and the boyfriend will hit him
   3    in the head, hit him with a tire iron or something.
   4    He can't be mixed in the regular population.                     He
   5    doesn't know what he's doing; can't be held
   6    accountable.
   7           Q.     So you referenced this already, but in the
   8    next paragraph it says, "There is a statistical
   9    reduction in life expectancy of patients who have
  10    suffered from a severe traumatic brain injury, and
  11    this estimated average life expectancy reduction is
  12    approximately four years."
  13                  Did I read that correctly?
  14           A.     Yes.
  15           Q.     So this looks like an average.              Why did
  16    you pick the average number of years?
  17           A.     Because you can't go higher and you can't
  18    go lower.      I'm saying, look, he's got a clinically
  19    significant reduction in life expectancy.                  And
  20    that's based on literature.             I mean, I have 18
  21    peer-reviewed published articles talking about life
  22    expectancy and traumatic brain injury.                 And some
  23    people say seven, some people say four, some people
  24    say less, some people say more.               I would go with
  25    four years.       And I think that's fair and reasonable



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                                                                             44
   1    because he can walk, he can talk, he's not fed by a
   2    G-tube.
   3                  Now, if he was immobile in a bed and fed
   4    by a G-tube, it would be different, but he's
   5    walking.
   6           Q.     Do these articles lay out sort of
   7    additional complications that would make the
   8    reduction in life expectancy higher?
   9           A.     Yes, some of them do.           If he was suffering
  10    from aspiration pneumonia, urinary tract infection,
  11    seizures, his mortality would be faster.
  12           Q.     Do you know off the top of your head how
  13    much that would reduce his life expectancy?
  14           A.     No.    No, I don't.       And I wouldn't
  15    speculate in a court of law.
  16                  All I can say is, I'm going to concede in
  17    a court of law that he does have a reduction based
  18    on the fact that he had a severe traumatic brain
  19    injury and it's four years.             That I'll concede to.
  20    More than that or modifying that, I can't do that.
  21           Q.     Are you familiar with mortality tables?
  22           A.     Yes.
  23           Q.     And sometimes mortality tables identify
  24    the risk of -- the risk of any one person dying in
  25    any one span of time.           Are you familiar with how



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                                                                             46
   1    okay with that.           I think that that's legitimate.
   2            Q.      Do you think that his risk of dying in any
   3    given year would be increased, as opposed to the
   4    general population?
   5            A.      No.     I think that I would go by the
   6    literature, and specifically, the National Research
   7    Counsel Summary Golf War and Health, Volume 7,
   8    Long-Term Consequences of Traumatic Brain Injury,
   9    Washington D.C.           This is the National Academy of
  10    Press 2008.           They said, based on their research --
  11    and this is government funded.              This is as good as
  12    it gets.        They did this with our servicemen,
  13    veterans.        They said, four years.         I have no reason
  14    to disbelieve that, so that's what I'm going to go
  15    with.        It's peer-reviewed, published, accepted.
  16    That's the best I can do.
  17            Q.      The next paragraph in your -- on page 7 of
  18    Exhibit G, which is your summary report, goes on to
  19    identify some increased risks that Mr. Loveland is
  20    exposed to because of his TBI.              Do you see that?
  21            A.      Yes.
  22            Q.      Can you identify for me what these
  23    increased -- what he's at an increased risk for?
  24            A.      Yeah.     Increased risk for traumatic brain
  25    induced epilepsy, Parkinsonism, Alzheimer's-like



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                                                                             47
   1    dementia.      So I agree, there are increased risks for
   2    all those thing, but I can't say it's more probable
   3    than not that he's going to have them.
   4           Q.     If he does have -- if he does have any of
   5    these -- would you consider these complications or
   6    something separate from that?
   7           A.     Yeah, they're a complication of a
   8    traumatic brain injury, but if you have Parkinson's,
   9    you control it with medications.               And dementia-type
  10    doesn't mean Alzheimer's.
  11                  So I wouldn't say it's going to reduce his
  12    life expectancy anymore.            I would just say it's
  13    going to make his life miserable.
  14           Q.     So you don't see -- if you assume for the
  15    sake of argument that Mr. Loveland did experience
  16    traumatically-induced epilepsy, you see no drop in
  17    his life expectancy in the event that he does
  18    experience that complication?
  19           A.     Well, no, it depends.           It depends if he's
  20    getting appropriate aide and attendant care.
  21    Because if that's the case, then he would have to
  22    have RN and LPN level of care and they can put
  23    Diastat in his rectum, because they are allowed to
  24    pass meds, and they would have early detection and
  25    early intervention.          However, if he doesn't have



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                                                                             48
   1    early detection and early intervention, well then,
   2    yeah, you can reduce his life expectancy, because
   3    you can die from seizures.
   4           Q.     What about Parkinsonism?
   5           A.     Well, that's not Parkinson's disease.
   6    Parkinsonism means that, you know, he has the
   7    shaking and the bradycardia slowness of gait and
   8    slowness of movement, masked face, yes.
   9           Q.     If he ultimately suffers from that, would
  10    that impact his life expectancy?
  11           A.     Probably not, not any more than the four
  12    years.
  13           Q.     What about Alzheimer's-like dementia?
  14           A.     Again, that would just make taking care of
  15    him more complicated.
  16           Q.     But in your judgment, it wouldn't impact
  17    his life expectancy.
  18           A.     Well, it's going to impact his life
  19    expectancy due to the fact that he's going to reduce
  20    it by four years.
  21           Q.     You also go on to state that the brain
  22    injury that he suffered increases his potential to
  23    develop hydrocephalus in the future?
  24           A.     Correct, but I can't swear to more
  25    probable than not.          It's a possibility.          And he has



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                                                                              49
    1    a shunt placed anyway, so probably not.                 That's in
    2    the literature.        I don't pick and choose out of
    3    literature because that's not right.                I go ahead and
    4    print the whole thing, and that's in the literature.
    5    But he has a VP shunt, so he's probably not going to
    6    have that, because that's what the VP shunt is
    7    treating right now.
    8           Q.     The last, I guess, additional risk that
    9    you identify in this paragraph is, he's at a
   10    lifetime risk for multiple organ system failure.
   11           A.     Yes.
   12           Q.     Can you describe that?
   13           A.     It was in the article.
   14           Q.     Okay.
   15           A.     You know, if he's on medications, then
   16    you're at risk for complications with your liver or
   17    complications with your kidney, because everything's
   18    filtered -- all the blood is filtered by the liver
   19    and the kidneys.
   20           Q.     Is it fair to say, that if he does suffer
   21    from multiple organ system failure, that that would
   22    in fact impact his life expectancy?
   23           A.     Yes, but that's a possibility, not a
   24    probability.
   25           Q.     What about -- well, I'll go one at a time.



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                                                                              50
    1                  Does traumatically induced epilepsy
    2    increase his risk for being hospitalized?
    3           A.     It could increase risk, but it doesn't
    4    meet legal threshold of more probable than not.
    5           Q.     Okay.     Would your answer be the same for
    6    Parkinsonism?
    7           A.     Yes.
    8           Q.     Would your answer be the same for
    9    Alzheimer's-like dementia?
   10           A.     Yes.     It's an increased risk probably 10
   11    to 20 percent, but I can't say it's greater than
   12    50 percent.       That doesn't meet legal threshold.
   13           Q.     Okay.     Same for hydrocephalus?
   14           A.     Well, I doubt that's going to happen
   15    because he already has a shunt.
   16           Q.     And the same, the multiple organ system
   17    failure?
   18           A.     Right.     Very low probability.
   19           Q.     Before we move on, let's look at the last
   20    page, page 8 of your summary report, which is
   21    Exhibit G.
   22                  So you state that this patient's future
   23    medical care, support services and durable medical
   24    equipment are defined in the continuation of care
   25    section of this report.            This medical necessity and



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                                                                              52
    1    visits to Disney World, I don't have hyperbaric
    2    oxygen, I don't have hippo therapy.                I don't have
    3    any fluff and puff.
    4                  What's in this report is written in such a
    5    way, which I think is a medical necessity to keep
    6    this patient as safe as possible.               And to make sure
    7    there's nothing far reaching in the report and to
    8    make sure that there's no hocus pocus in the report,
    9    you'll notice, when I write a PRN, it does not meet
   10    legal threshold.         So this cost is not included in
   11    the economic analysis.           So if you go to page number
   12    2, basically everything is out where it says PRN.
   13    And page number 3, that whole section, diagnostics
   14    is out, when it says one time a year/PRN, or PRN.
   15                  And when you go to page number 4, I
   16    dropped out 1 million to $4 million -- or, I
   17    shouldn't say, I drop out.            I don't include
   18    1 million to $4 million worth of care, 'cause I do
   19    make the speculative assumption in this court of law
   20    that we live in the perfect world and he'll never
   21    have a complication.          So I don't include 1 million
   22    to $4 million worth of care.             But let's say he does
   23    have a complication, such as seizures, has to be
   24    admitted, there's no money associated with the
   25    admissions to the hospital.



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                                                                              57
    1    well, not die.
    2       BY MR. HEDGER:
    3           Q.     So there's not a risk of, you know,
    4    obtaining a staph infection from being admitted into
    5    the hospital or other hospital?
    6           A.     There's always a risk, but it doesn't meet
    7    legal threshold of greater than 50 percent
    8    probability.
    9           Q.     Okay.
   10           A.     And remember, in my thing, it's always
   11    risk versus reward.
   12                  And in the courtroom arena, in order for
   13    me to say it under oath, it's got to be greater than
   14    50 percent probability.
   15           Q.     While we have your old methodology in
   16    front of us, let me just ask you a few questions so
   17    we don't waste any time here.
   18                  So the third paragraph down, it says, "In
   19    my medical opinion, that these costs do not take
   20    into account the costs which are associated with
   21    various complications."
   22           A.     Right.     And that's in the section that I
   23    had that I said, I'm not including 1 million and
   24    $4 million worth of care because I'm going to make
   25    this speculative assumption in a court of law that



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                                                                              58
    1    we live in a perfect world and -- you know, and he's
    2    not going to have any problem.
    3           Q.     But these are all complications that he is
    4    at risk for?
    5           A.     Yeah.    But, I mean, he's at risk, but it's
    6    not -- doesn't meet anywhere near legal threshold.
    7                (Interruption in the proceedings.)
    8       BY MR. HEDGER:
    9           Q.     All right.      Back to what we've marked as
   10    Exhibit H.      I assume the continuation of care
   11    portion is not going to change?
   12           A.     No, it's not.       And you'll notice the
   13    cardiology, orthopedic surgeon, gastroenterologist.
   14    There's no costs included in an economic analysis
   15    because it's a PRN.          The neurologist is two to four
   16    times a year and PRN.          The and PRN is not included.
   17    It's only two to four times a year.                But I'm not a
   18    life care planner, I'm a medical doctor, and that's
   19    why I write it this way.            This is complete, but yet
   20    follows the rules of the court by speculation.
   21           Q.     Do you know the last time -- let's start
   22    with neurologist.         Do you know the last time he saw
   23    a neurologist?
   24           A.     I have no idea, but that's irrelevant.
   25                  What's relevant to me is this is what I



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      ·2

      ·3· ·STATE OF FLORIDA

      ·4· ·COUNTY OF PALM BEACH

      ·5

      ·6· · · · · · · ·I, Shirley D. King, CRR, FPR, RPR, do

      ·7· · · hereby certify that I was authorized to and did

      ·8· · · stenographically report the foregoing deposition

      ·9· · · of CRAIG H. LICHTBLAU, M.D.; that a review of the

      10· · · transcript was requested; and that the transcript

      11· · · is a true record of my stenographic notes.

      12· · · · · · · ·I FURTHER CERTIFY that I am not a

      13· · · relative, employee, attorney, or counsel of any

      14· · · of the parties, nor am I a relative or employee

      15· · · of any of the parties' attorney or counsel

      16· · · connected with the action, nor am I financially

      17· · · interested in the action.

      18· · · · · · · ·Dated this 15th day of April, 2019.

      19

      20

      21

      22· ·_____________________________________________
      · · ·SHIRLEY D. KING, CRR, FPR, RPR
      23

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